IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA

Plaintiff,

)
)
)
)
vs. ) Case No. 3:21-CR30003-DWD
)
FRANK SMITH, )

)

)

Defendant,

WE THE JURY, UNANIMOUSLY FIND AS FOLLOWS:

Count One: Racketeering Conspiracy

How do you find the defendant, Frank Smith, as to Count One, racketeering conspiracy?

Yo

NOT GUILTY. GUILTY

Special Finding:

1. If you find the defendant, Frank Smith, guilty of Count One, do you find that the
defendant knowingly caused the death of Leroy Allen or with the purpose of causing serious
physical injury to another person caused the death of Leroy Allen?

No Yes vO

Count Two: Murder in Aid of Racketeering

How do you find the defendant, Frank Smith, as to the charge of murder in aid of
racketeering in Count Two, relating to the death of Leroy Allen?

NOT GUILTY. GUILTY J

Count Three: Use of a Firearm During and in Relation to a Crime of Violence

1. How do you find the defendant, Frank Smith, as to the charge of use or carrying of a
firearm during and in relation to a crime of violence (that is, the murder of Leroy Allen) in Count
Three?

NOT GUILTY GUILTY Vo
2. As to Count Three, was the firearm discharged?

i

No Yes

3. As to Count Three, was the firearm brandished?

No Yes J

Count Four: Use of a Firearm During and in Relation to a Crime of Violence Causing Death

How do you find the defendant, Frank Smith, as to the charge of use or carrying of a
firearm during and in relation to a crime of violence causing death (that is, the murder of Leroy

Allen) in Count Four? #

NOT GUILTY GUILTY

2. As to Count Five, was the firearm discharged?

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No Yes

3. As to Count Five, was the firearm brandished?

wv

Count Five: Attempted Murder in Aid of Racketeerin

No Yes

 

How do you find the defendant, Frank Smith as to the charge of attempted murder in aid
of racketeering in Count Five, relating to victim Dushawn Wharton?

NOT GUILTY GUILTY J

Count Six: Use of a Firearm During and in Relation to a Crime of Violence

How do you find the defendant, Frank Smith, as to the charge of use and carry of a firearm
during and in relation to a crime of violence (that is, the attempted murder of Dushawn Wharton)

in Count Six? S

NOT GUILTY. GUILTY.
The foregoing constitutes the unanimous verdict of the jury.

Date 3/L/2023
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA )
Plaintiff,
VS. Case No. 3:21-CR30003-DWD
WARREN GRIFFIN . )
Defendant, )
WE THE JURY, UNANIMOUSLY FIND AS FOLLOWS:
Count One: Racketeering Conspiracy
How do you find the defendant, Warren Griffin, as to Count One, racketeering

conspiracy?

NOT GUILTY GUILTY /

Special Finding:

1. If you find the defendant, Warren Griffin, guilty of Count One, do you find that
the defendant killed Ernest Wilson without lawful justification in performing the acts which caused
the death, and that the murder was committed in a cold, calculated and premeditated manner
pursuant to a preconceived plan, scheme and design to take a m7 by unlawful means?

No Yes

 

Count Eleven: Murder in Aid of Racketeering

How do you find the defendant, Warren Griffin, as to the charge of murder in aid of
racketeering in Count Eleven, relating to the death of Earnest Wilson?

NOT GUILTY GUILTY Y

Count Twelve: Use of a Firearm During and in Relation to a Crime of Violence

1. How do you find the defendant, Warren Griffin, as to the charge of use or carry of a
firearm during and in relation to a crime of violence (that is, the murder of Earnest Wilson) in
Count Twelve?
NOT GUILTY GUILTY é

2. As to Count Twelve, was the firearm discharged?

No Yes S

3. As to Count Twelve, was the firearm brandished?

No Yes vo

Count Thirteen: Use of a Firearm During and in Relation to a Crime of Violence Causing
Death

How do you find the defendant, Warren Griffin, as to the charge of use and carry of a
firearm causing death during and in relation to a crime of violence (that is, the murder of Earnest
Wilson) in Count Thirteen?

NOT GUILTY GUILTY 4

The foregoing constitutes the unanimous verdict of the jury.

Date slofeozz
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA )
Plaintiff,
VS. Case No. 3:21-CR30003-DWD
SEAN CLEMON,
Defendant,
WE THE JURY, UNANIMOUSLY FIND AS FOLLOWS:

Count One: Racketeering Conspiracy

How do you find the defendant, Sean Clemon, as to Count One, racketeering conspiracy?

NOT GUILTY GUILTY 4

Special Finding:

1. If you find the defendant, Sean Clemon, guilty of Count One, do you find that the
defendant knowingly caused the death of Leroy Allen or with the purpose of causing serious
physical injury to another person caused the death of Leroy Allen?

vw

No Yes
Count Two: Murder in Aid of Racketeering
How do you find the defendant, Sean Clemon, as to the charge of murder in aid of

racketeering in Count Two, relating to the death of Leroy Allen?

NOT GUILTY GUILTY. vo

Count Three: Use of a Firearm During and in Relation to a Crime of Violence

 

1. How do you find the defendant, Sean Clemon, as to the charge of use and carry of a
firearm during and in relation to a crime of violence (that is, the murder of Leroy Allen) in Count
Three?

NOT GUILTY GUILTY “
2. As to Count Three, was the firearm discharged?

No Yes

3. As to Count Three, was the firearm brandished?

No Yes J

Count Four: Use of a Firearm During and in Relation to a Crime of Violence Causing Death
How do you find the defendant, Sean Clemon, as to the charge of use and carry of'a firearm

causing death during and in relation to a crime of violence (that is, the murder of Leroy Allen) in

Count Four?

NOT GUILTY GUILTY

Count Five: Attempted Murder in Aid of Racketeering

1. How do you find the defendant, Sean Clemon, as to the charge of attempted murder in
aid of racketeering in Count Five, relating to victim D. W.?

ef

NOT GUILTY GUILTY.

2. As to Count Five, was the firearm discharged?

No Yes vo

3. As to Count Five, was the firearm brandished?

Count Six: Use of a Firearm During and in Relation to a Crime of Violence

No Yes

 

How do you find the defendant, Sean Clemon, as to the charge of use and carry of a firearm
during and in relation to a crime of violence (that is, the attempted murder of D. W.) in Count Six?
J

NOT GUILTY GUILTY

The foregoing constitutes the unanimous verdict of the jury.

Date 3/o/e023
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA )

Plaintiff,
VS. Case No. 3:21-CR30003-DWD
DOMINIQUE MAXWELL, .

Defendant,

WE THE JURY, UNANIMOUSLY FIND AS FOLLOWS:

Count One: Racketeering Conspiracy

How do you find the defendant, Dominique Maxwell, as to Count One, racketeering
conspiracy?

NOT GUILTY GUILTY J

Special Finding:

1. If you find the defendant, Dominique Maxwell, guilty of Count One, do you find
that the defendant knowingly caused the death of Leroy Allen or with the purpose of causing
serious physical injury to another person caused the death of Leroy Allen?

/

No Yes

 

 

Count Two: Murder in Aid of Racketeering

How do you find the defendant, Dominique Maxwell, as to the charge of murder in aid of
racketeering in Count Two, relating to the death of Leroy Allen?
NOT GUILTY GUILTY Yo

Count Three: Use of a Firearm During and in Relation to a Crime of Violence

 

1. How do you find the defendant, Dominique Maxwell, as to the charge of use of a firearm
during and in relation to a crime of violence (that is, the murder Vn Allen) in Count Three?

NOT GUILTY. GUILTY
2. As to Count Three, was the firearm discharged?

No Yes

3. As to Count Three, was the firearm brandished?

Yo

No Yes

Count Four: Use of a Firearm During and in Relation to a Crime of Violence Causing Death

How do you find the defendant, Dominique Maxwell, as to the charge of use and carry of
a firearm causing death during and in relation to a crime of violence (that is, the murder of Leroy
Allen) in Count Four? /

NOT GUILTY GUILTY,

Count Five: Attempted Murder in Aid of Racketeering

1. How do you find the defendant, Dominique Maxwell, as to the charge of attempted
murder in aid of racketeering in Count Five, relating to victim D. W.?

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NOT GUILTY GUILTY

2. As to Count Five, was the firearm discharged?

No Yes vo

3. As to Count Five, was the firearm brandished?

No Yes /

Count Six: Use of a Firearm During and in Relation to a Crime of Violence

How do you find the defendant, Dominique Maxwell, as to the charge of use and carry of
a firearm during and in relation to a crime of violence (that is, the attempted murder of D. W.) in
Count Six?

NOT GUILTY GUILTY So
The foregoing constitutes the unanimous verdict of the jury.

Date 2/2 oL3

 
